         Case 1:07-cv-11693-GAO         Document 98       Filed 08/11/08     Page 1 of 2




                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS
___________________________________________
                                           )
PEDRO LOPEZ, et al.,                       )
                                           )
                        Plaintiffs,        )
                                           )
v.                                         )                Civil Action No. 07-11693-JLT
                                           )
CITY OF LAWRENCE, MASSACHUSETTS, et al. )
                                           )
                                           )
                        Defendants.        )
__________________________________________ )

                                 NOTICE OF APPEARANCE

         Pursuant to Local Rule D. Mass. 83.5.2.(a), please enter my appearance on behalf of

plaintiffs, Shumeand Benfold, Angela Williams-Mitchell, Gwendolyn Brown, and Lynette

Praileau, in the above-referenced matter.


                                             Respectfully submitted,


                                             /s/ Vinita Ferrera
                                             Vinita Ferrera (BBO #631190)
                                             Wilmer Cutler Pickering Hale and Dorr LLP
                                             60 State Street
                                             Boston, Massachusetts 02109
                                             (617) 526-6000

Dated: August 11, 2008




US1DOCS 6779894v1
         Case 1:07-cv-11693-GAO         Document 98        Filed 08/11/08     Page 2 of 2




                                 CERTIFICATE OF SERVICE

        I hereby certify that a copy of the foregoing has been served by ECF and/or first class
mail this 11th day of August, 2008 upon all counsel of record.

                                             /s/ Vinita Ferrera
                                             Vinita Ferrera




                                               -2-
US1DOCS 6779894v1
